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                IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA          :
                                  :
            v.                    :       CRIMINAL NO. 11-716
                                  :
ERIC CRUZ                         :


                          M E M O R A N D U M

EDUARDO C. ROBRENO, J.                              October 13, 2021


I.    INTRODUCTION

      Presently before this Court is pro se Defendant’s

motion under Federal Rule of Civil Procedure 60(b) (“Rule

60(b)”) challenging this Court’s previous denial of Defendant’s

supplemental motion brought pursuant to 28 U.S.C. § 2255.

Defendant has also submitted a supplemental motion pursuant to

Rule 60(b) and a motion to stay. All are ripe for consideration.

      For the following reasons, Defendant’s motion pursuant to

Rule 60(b), Defendant’s supplemental motion pursuant to Rule

60(b), and Defendant’s motion to stay will be denied.

II.   BACKGROUND

      A. Initial Section 2255 Motions

      On December 8, 2011 Defendant Cruz was indicted with one

count of possession of a firearm by a convicted felon in

violation of 18 U.S.C. § 922(g)(1). Cruz was previously

convicted in the Court of Common Pleas of three separate felony

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offenses of manufacturing, delivery or possession with the

intent to manufacture or deliver a controlled substance in

violation of 35 Pa. Stat. Ann 35 § 780-113(a)(3). These cases

were consolidated for sentencing in the Court of Common Pleas.

     Pursuant to Federal Rule of Criminal Procedure 11(c)(1)(C)

(“Rule 11(c)(1)(C)”), Cruz agreed with the Government to enter

into a guilty plea specifying a term of 180 months in prison. As

part of the guilty plea, Cruz stipulated that he qualifies as an

Armed Career Criminal pursuant to 18 U.S.C. § 924(e), the Armed

Career Criminal Act. Subsequently, the United States Probation

Office’s presentence investigation report (“PSR”) determined

that Cruz’s three prior felony convictions qualify him as an

Armed Career Criminal under the Armed Career Criminal Act. Cruz

did not object to the PSR.1

     Thereafter, the Court rejected the Rule 11(c)(1)(C)

agreement and allowed Cruz to withdraw his guilty plea. Cruz

agreed to go forward with the existing guilty plea agreement but

without the 180-month “C Plea” portion of the agreement. The

Court accepted the guilty plea. On February 7, 2013, the Court

sentenced Cruz to 192 months in prison.

     On January 30, 2014, Cruz filed a pro se motion pursuant to

28 U.S.C. § 2255 (the “Initial Section 2255 Motion”) claiming



1     Cruz was also placed in criminal history category VI because he had
accumulated 20 criminal history points.

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that he had ingested an unspecified controlled substance at the

Federal Detention Center before his sentencing hearing. Cruz

argued that this influenced his decision to go forward with the

existing plea agreement but without the 180-month “C plea”

provision. Cruz argued that the Court should have inquired into

whether Cruz had taken any medications or drugs prior to the

hearing and that his sentencing counsel was ineffective for

failing to object when the Court did not make this inquiry.

Cruz, however, did not claim he suffered a specific impairment

from the alleged ingestion.

    On December 18, 2014, Cruz filed a Supplemental Motion to

Amend his Section 2255 motion (the “Supplemental Section 2255

Motion”) arguing that: (1) the Court erred when it held him to

be an Armed Career Criminal because his prior convictions for

drug offenses, which were consolidated for sentencing, count as

a single prior conviction; (2) the Supreme Court recognized a

new Constitutional rights in Descamps v. United States, 570 U.S.

254 (2013), which renders the application of his criminal

history category and status as an Armed Career Criminal as

incorrect; and (3) counsel was constitutionally ineffective.

    On February 6, 2015, the Court denied Cruz’s Supplemental

Section 2255 Motion as time-barred. The Court found that because

Cruz submitted his Supplemental Section 2255 Motion after the

relevant statute of limitations under section 2255 had run, Cruz

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was barred from raising these additional arguments. On March 20,

2015 Cruz withdrew his Initial Section 2255 Motion.

     B. Rule 60(b) Motion

     On July 23, 2019, Cruz filed the present motion under

Federal Rule of Civil Procedure 60(b) arguing that the Court

should reconsider its February 6, 2015 order denying Cruz’s

Supplemental Section 2255 Motion (the “Rule 60(b) Motion”). Cruz

specifically challenges the Court’s determination that Cruz is

an Armed Career Criminal, arguing that the “jurisdiction

doctrine statute” under the Armed Career Criminal Act barred the

Court from considering Cruz’s prior convictions for drug

offenses as three separate convictions. Cruz also contends that

the sentence was secured by fraud and that his sentencing

counsel was ineffective. Cruz requests that the Court vacate his

sentence under the Armed Career Criminal Act, and that the Court

re-open his Initial Section 2255 Motion and his Supplemental

Section 2255 Motion.2 The Government argues that Cruz has

impermissibly raised these claims as they are time-barred and

improperly brought them as a successive habeas petition.




2     As the Government points out, Cruz appears to ignore that Cruz
previously stipulated to his status as an Armed Career Criminal prior to his
federal sentencing.

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       C. Supplemental Rule 60(b) Motion

       On June 18, 2020, Cruz filed a motion to amend-supplement

his initial Rule 60(b) Motion (the “Supplemental Rule 60(b)

Motion”). In his motion, Cruz raises several new arguments.

Primarily, Cruz argues that one of his underlying convictions

for drug offenses does not qualify as a predicate felony

subjecting him to a sentence under the Armed Career Criminal

Act.

       Cruz additionally cites to Rehaif v. United States, in

which the Supreme Court held that to successfully prosecute a

defendant under Section 922(g), the Government must prove that

the defendant knew he possessed a firearm and that he knew he

“belonged to the category of persons barred from possessing a

firearm.” 139 S. Ct. 2101, 2200 (2019). Cruz argues that his

conviction should be reversed because his plea [agreement] did

not include that the government could prove Petitioner had

“knowledge” that his prior felony conviction made it unlawful

for him to possess a firearm.

       Upon consent of both parties, this Court previously stayed

the Rehaif issue after the Supreme Court agreed to hear related

issues in United States v. Gary, which was consolidated with

Greer v. United States, S. Ct. 141 S. Ct. 2090 (2021). Those

cases have since been heard and the stay has been lifted.



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         D. Motion to Stay

         On June 21, 2021, the Defendant moved to stay this matter

    again (the “Motion to Stay”), arguing that a pending Supreme

    Court case may influence an issue raised in his Rule 60(b)

    Motion. Defendant argues that because his three prior felony

    offenses were consolidated for sentencing, the Court erred when

    it found him to be an Armed Career Criminal because the Court

    should have considered his underlying convictions to derive from

    one consolidated offense rather than three separate offenses.

    Defendant moves to stay the matter until Wooden v. U.S., 141 S.

    Ct. 1370 (2021), has been decided. In Wooden the Supreme Court

    will consider whether a defendant’s previous burglary

    convictions constitute separate “violent felonies” under to 18

    U.S.C. § 924(e). Defendant argues that Wooden “could determine

    that any prior convictions that the sentences [] ran

    concurrently or [were] consolidated to each other cannot be

    separated to enact the enhanced sentence” under section 924(e).

    Def. Mot. to Stay at 1, ECF No. 74.

         The Government opposes this motion and argues that the

    Motion to Stay, along with Cruz’s Rule 60(b) Motion and

    Supplemental Rule 60(b) Motion, should be denied.

III. LEGAL STANDARD

         Federal Rule of Civil Procedure 60(b) provides that “[o]n

    motion and just terms, the court may relieve a party or its

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      legal representative from a final judgment, order, or proceeding

      for the following reasons:

          (1) mistake, inadvertence, surprise, or excusable
          neglect;
          (2) newly discovered evidence that, with reasonable
          diligence, could not have been discovered in time to
          move for a new trial under Rule 59(b);
          (3) fraud (whether previously called intrinsic or
          extrinsic), misrepresentation, or misconduct by an
          opposing party;
          (4) the judgment is void;
          (5) the judgment has been satisfied, released, or
          discharged; it is based on an earlier judgment that
          has been reversed or vacated; or applying it
          prospectively is no longer equitable; or
          (6) any other reason that justifies relief.

      Fed. R. Civ. P. 60(b). A party may also request that a court

      “set aside a judgment for fraud on the court” under Rule

      60(d)(3). However, “a determination of fraud on the court may be

      justified only by ‘the most egregious misconduct directed to the

      court itself,’ and that it ‘must be supported by clear,

      unequivocal and convincing evidence.’” Herring v. United

      States, 424 F.3d 384, 386–87 (3d Cir. 2005) (quoting In re

      Coordinated Pretrial Proceedings in Antibiotic Antitrust

      Actions, 538 F.2d 180, 195 (8th Cir. 1976).

IV.   DISCUSSION

        A. Rule 60(b) Motion

          Cruz seeks to reopen his Initial Section 2255 Motion, which

      Cruz withdrew in 2015, and his Supplemental Section 2255 Motion,

      which this Court previously denied as time-barred. Cruz’s Rule


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60(b) motion fails as it is time-barred and because Cruz’s

motion constitutes a successive habeas petition over which this

Court does not have jurisdiction to review.

    Federal Rule of Civil Procedure 60(b) “provides that a

court ‘may relieve a party or its legal representative from a

final judgment, order, or proceeding’ for several enumerated

reasons.” Murray v. DiGuglielmo, No. 09-CV-4960, 2020 WL

1491324, at * 1 (E.D. Pa. March 27, 2020) (quoting Fed. R. Civ.

P. 60(b)). As an initial matter, “[a] motion under Rule

60(b) must be made within a reasonable time.” Fed. R. Civ. P.

60(c). Here, Cruz’s claim is not timely. This Court denied

Cruz’s Supplemental Section 2255 Motion on February 6, 2015 and

on March 20, 2015, Cruz withdrew his Initial Section 2255

Motion. Cruz then waited over four years, until July 23, 2019,

to file his Rule 60(b) Motion. Cruz does not provide an

explanation for the delay. See, e.g., Wyche v. Metzger, No. 18-

CV-1478, 2021 WL 2403112, at *3 (D. Del. Jun 11, 2021) (denying

a Rule 60(b) motion to re-open a habeas petition because the

petitioner “has not provided any reason for waiting one year and

five months to file the instant Motion to Reopen after he

voluntarily withdrew his habeas petition.”).

    Even if Cruz’s claim were to be deemed timely, it still

fails because Cruz’s motion is a second or successive habeas



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petition disguised as Rule 60(b) motion over which the Court

does not have authority to review.

    In Gonzalez v. Crosby, the Supreme Court addressed when a

Rule 60(b) motion may be considered an unauthorized second or

successive habeas petition. 545 U.S. 524 (2005). The Court

examined a similar motion brought under Rule 60(b) where the

movant previously brought an unsuccessful petition for habeas

relief under 28 U.S.C. § 2254. The Supreme Court noted that Rule

60(b) “applies in habeas corpus proceedings under 28 U.S.C. §

2254 only ‘to the extent that [it is] not inconsistent with’

applicable federal statutory provisions and rules.” Id. at 530

(footnote omitted) (quoting Rule 11 of the Rules Governing §

2254 Cases in the United States District Courts). One such

provision is under 28 U.S.C. § 2254(b)(3), which provides

that “[b]efore a second or successive application permitted by

this section is filed in the district court, the applicant shall

move in the appropriate court of appeals for an order

authorizing the district court to consider the application.” 28

U.S.C. § 2244(b)(3). A similar rule exists for petitions brought

under § 2255 which provides that a “[a] second or successive

motion must be certified as provided in section 2244 by a panel




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of the appropriate court of appeals . . . .” 28 U.S.C. §

2255(h).3

     A second or successive habeas claim disguised as a Rule

60(b) motion is one that seeks to “add a new ground for relief”

or seeks to “attack[] the federal court’s previous resolution of

a claim on the merits.” Gonzalez, 545 U.S. at 532. In contrast,

a “true” Rule 60(b) motion challenges “a procedural ruling made

by the district court that precluded a merits determination of

the habeas petition, or challenges a ‘defect in the integrity of

the federal habeas proceedings,’ such as an assertion that the

opposing party committed fraud upon the court.” Murray, 2020 WL

1491324, at *3 (quoting Gonzalez, 545 U.S. at 532 n.5). A valid

Rule 60(b) motion will “assert[] that a previous ruling which

precluded a merits determination was in error—for example, a

denial for such reasons as failure to exhaust, procedural

default, or statute-of-limitations bar.” Gonzalez, 545 U.S. at

532 n.4.


3     The holding in Gonzalez was limited to motions filed pursuant to
section 2254, but the Court noted that “[f]ederal prisoners generally seek
postconviction relief under § 2255, which contains its own provision
governing second or successive applications.” Gonzalez, 545 U.S. at 529 n.3.
Courts in this Circuit have consistently applied Gonzalez’s holding to
motions brought pursuant to section 2255. See, e.g., United States v. Mote,
No. 18-CV-2513, 2018 WL 6984450, at *1 (3d Cir. Nov. 6, 2018) (“Because
Appellant sought to attack his underlying conviction, his Rule 60(b) motion
was properly viewed as an unauthorized second or successive 28 U.S.C.
§ 2255 motion.”); United States v. White, No. 10-CR-420-1, 2021 WL 37924, at
*3 (E.D. Pa. Jan. 5, 2021) (“Although Gonzalez concerned a 60(b) motion filed
in a proceeding brought under § 2254, its principles apply equally to 60(b)
motions filed in the § 255 context.”); United States v. Colon, No. 10-CR-556,
2016 WL 687183, at *3 (E.D. Pa. Feb. 19, 2016) (applying Gonzalez to section
2255). Thus, Gonzalez applies here.

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     Here, though this Court previously denied Cruz’s

Supplemental Section 2255 Motion because it was time-barred,

Cruz’s does not argue that the Court’s determination was

procedurally defective, nor does Cruz challenge “a procedural

ruling made by the district court that precluded a merits

determination of the habeas petition . . . .” Murray, 2020 WL

1491324, at *3 (citing Gonzalez, 545 U.S. at 532 n.5); Florio v.

Vaughn, No. 96-CV-7128, 2021 WL 510171, at *2 (E.D. Pa. Feb. 11,

2021) (noting the same). Instead, Cruz raises substantive

arguments challenging his sentencing under the Armed Career

Criminal Act. Cruz additionally argues that the underlying

sentence was imposed by fraud and that his sentencing counsel

was ineffective.4 These are the types claims that attack the

defendant’s underlying conviction and seek to “add a new ground

for relief,” which are explicitly barred by Gonzalez. 545 U.S.

at 532; see also U.S. v. Jones, 2015 WL 525184, at *6 (E.D. Pa.

Feb. 9, 2015) (“A motion that claims error in the prisoner's

conviction or sentence must be treated not as a motion for

relief under Rule 60(b), but as a second or successive §

2255 motion, which may not be filed without the express

permission of the Court of Appeals.”)5 Thus, the Court finds that


4     Cruz also does not provide any specific reasons as to why Cruz’s
Initial Section 2255 Motion should be re-opened.
5     The Court recognizes that, under certain circumstances, a defendant may
raise an allegation of fraud in a Rule 60(b) motion to attack a court’s
previous ruling on the merits. See Murray, 2020 WL 1491324, at *2 (citing

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Cruz’s Rule 60(b) motion is a “second or successive” habeas

petition pursuant to § 2255.

     As previously noted, before a “second or successive”

petition may be filed under § 2255, it “must be certified as

provided in section 2244 by a panel of the appropriate court of

appeals.” 28 U.S.C. § 2255(h). Cruz has not obtained such

certification. Accordingly, Cruz’s Rule 60(b) motion is denied.6

  B. Supplemental Rule 60(b) Motion

     Cruz’s Supplemental Rule 60(b) Motion fails as it is also

time-barred and can be considered a successive section 2255

claim over which this Court does not have authority to review.

Cruz submitted this motion more than five years after this Court

denied Cruz’s Supplemental Section 2255 Motion. Thus, Cruz’s

Supplemental Rule 60(b) Motion was not brought within a


Gonzalez, 545 U.S. at 532 n.5); see also Fed. R. Civ. P. 60(b)(3). Cruz
argues that, pursuant to Rule 60(b)(4), his underlying sentence was imposed
by fraud. Cruz does not argue that the Court’s prior decision denying Cruz’s
Supplemental Section 2255 Motion was a result of fraud. Because Cruz’s
allegations of fraud do not attack a “defect in the integrity of the federal
habeas proceedings,” but rather challenge his underlying sentence, Cruz’s
argument does not constitute a true Rule 60(b) motion. Gonzalez, 545 U.S. at
532.
6     To the extent Cruz purports to raise an argument of fraud under Rule
60(d)(3), Cruz merely attacks his underlying conviction without providing any
argument or evidence of “misconduct directed to the court itself. . . .”
Herring v. United States, 424 F.3d 384, 386–87 (3d Cir. 2005) (quoting In re
Coordinated Pretrial Proceedings in Antibiotic Antitrust Actions, 538 F.2d
180, 195 (8th Cir. 1976)). As he seeks to “collaterally attack his underlying
conviction” this should still be considered a “successive habeas petition[]
which may not be filed without the Court of Appeals’ approval.” U.S. v.
Franklin, No. 99-CV-238, 2008 WL 4792168, at *3 (E.D. Pa. Oct. 31, 2008); see
also United States v. Donahue, 733 F. App’x 600, 603 (3d Cir. 2018)
(affirming a finding that because defendant’s arguments under Rule 60(d)(3)
challenged his underlying conviction and sentence, they were “advanced
pretextually in support of a successive § 2255 motion.”).


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reasonable time pursuant to Federal Rule of Civil Procedure

60(c).

      Further, for the same reasons noted above, Cruz’s

Supplemental Rule 60(b) Motion must fail. As noted, “[a] motion

under Rule 60(b) cannot be used to advance a claim challenging

the petitioner’s underlying conviction . . . .” Cobbs v.

Mechling, No. 03-CV-1952, 2015 WL 4255463, at *1 (W.D. Pa. July

13, 2015) (citing Gonzalez, 545 US. at 531-32). That is exactly

what Cruz seeks to do in arguing that he was improperly

sentenced under the Armed Career Criminal Act. Because this

motion constitutes a “second or successive” habeas petition, and

because Cruz has not certified his “second or successive”

petition with the appropriate court of appeals, Cruz’s motion

must be denied. See 28 U.S.C. § 2255(h). Accordingly, the Court

need not reach the merits of Cruz’s arguments.7

    C. Motion to Stay

      Defendant seeks to stay this matter pending the resolution

of Wooden v. U.S., 141 S. Ct. 1370 (2021). In Wooden, the

Supreme Court will address whether offenses committed as part of

a single, criminal spree, but sequential in time, are considered

to have been committed on different occasions for purposes of

sentencings under the Armed Career Criminal Act. This case may


7     Because this motion is denied, the Court need not reach the Rehaif
issue.

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shed light on Cruz’s argument that Cruz’s prior convictions

should have been consolidated for the purposes of sentencing

under the Armed Career Criminal Act. However, this argument was

raised in Defendant’s Rule 60(b) Motion which, as already

explained, will be denied. Accordingly, the Motion to Stay will

be denied as well.

V.   CONCLUSION

     For the foregoing reasons Cruz’s Rule 60(b) Motion, the

Supplemental Rule 60(b) Motion, and the Motion to Stay will be

denied.

     An appropriate order follows.




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